1. "The salary of one employed in a governmental department of this State is not subject to the process of garnishment; nor can a State official be required to answer to such a process. The same policy which prohibits garnishment in such cases will prevent a creditor from reaching the salary by enjoining its collection by the employee and obtaining payment to the creditor through a receiver." Herrington v. Wimberly,  177 Ga. 536 (170 S.E. 670); Code, § 37-103. The foregoing rests on the principle of non-interference with proper administration of governmental institutions, and applies with equal force to employees of trustees under appointment by the Federal court, operating a railroad which is in the hands of the court. If creditors were allowed to seize wages of the employees, such practice could so interfere with the administration as to disrupt the business being conducted under supervision of the court.
2. The judge did not err in sustaining the general demurrer and dismissing the action.
Judgment affirmed. All the Justicesconcur.
                       No. 13967. MARCH 10, 1942.
The City Bank and Trust Company as transferee of a common-law judgment against J. W. Crawford, for $98.75 principal and $69.86 interest, instituted an equitable action against Crawford. The action was dismissed on general demurrer, and the plaintiff excepted. It appears from the allegations of the petition that Crawford was employed as a fireman in operating the trains on the Central of Georgia Railway Company, earning a salary of $200 a month, payable semi-monthly. His employment was by trustees appointed by authority of the United States district court for the Southern District of Georgia, and as such were engaged in operating the railroad. Execution had issued on the judgment, on which the levying officer had made a nulla bona return. Crawford did not in fact have any property in this State that could be levied upon. It was alleged, that the trustees were not subject to summons of garnishment at the instance of Crawford's creditors, but that the railroad company would be subject to garnishment except for the fact that its property is in custody of the law and the trustees are officers of the court, and no other consideration of public policy exempts the earnings of the defendant from the process of garnishment; that in the circumstances petitioner is entitled in equity to have its judgment satisfied from the earnings of the defendant, but is without remedy at law. The prayers were for *Page 544 
appointment of a receiver "to collect from defendant his semi-monthly pay checks and distribute the proceeds subject to the direction of the court;" that he "be restrained from negotiating his said pay checks or assigning his earnings to any person other than such receiver;" that other creditors, if any, be permitted to intervene; that petitioner and the receiver be allowed reasonable expenses, compensation, and counsel fees; and for general relief.